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            UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF FLORIDA
                    GAINESVILLE DIVISION

JEREMY B. HALES,
    Plaintiff,

vs.                                   Case No.: 1:24cv45/ZCB

JOHN M. COOK, et al.,
     Defendants.
____________________________________/

                      ORDER TO SHOW CAUSE

      Plaintiff has filed a Motion for Sanctions (Doc. 96). The motion

alleges that Defendants’ counsel has engaged in unprofessional conduct.

The Court has ordered Defendants’ counsel to respond to the motion by

March 20, 2025. (Doc. 97). As part of that response, Defendants’ counsel

should show cause as to why the Court should not revoke the privilege of

pro hac vice status that has been granted to him in this case. See Estate

of Rowell v. Walker Baptist Med. Ctr., 290 F.R.D. 549, 554 n.19 (N.D. Ala.

Jan. 30, 2013) (explaining that “permission to appear pro hac vice is a

privilege, the granting of which is within the sound discretion of the

presiding judge, and which can be revoked if [counsel] continue to violate

the professional standards of this District”) (cleaned up).



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     A hearing on this matter will be held Thursday, April 3, 2025, at

1:00 p.m. (central) in Courtroom 3 South, U.S. Courthouse, 1 N. Palafox

St., Pensacola, Florida. There is no need for the individual parties to

attend the hearing, but counsel for the parties are required to attend.

Any requests to appear remotely will be denied. Any requests to hold the

hearing at a location other than Pensacola will also be denied. 1

     SO ORDERED this the 14th day of March 2025.

                                        s/ Zachary C. Bolitho
                                        Zachary C. Bolitho
                                        United States Magistrate Judge




1 The Court previously indicated that it would consider holding pretrial

hearings in Gainesville. That remains true as a general matter, but the
Court will not hold this particular hearing in Gainesville. There is no
need for the individual parties to attend because the hearing will focus
solely on the conduct of counsel. Thus, there is no inconvenience to the
individual parties by holding the hearing in Pensacola. Also, (per
Expedia) there is no significant difference in the flight options or costs
for Boston to Pensacola and Boston to Gainesville.
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